       Case 24-11866-amc                      Doc       Filed 04/29/25 Entered 04/29/25 15:18:49                               Desc Main
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 Fill in this information to identify the case:

 Debtor 1          Steven     Francis Carr
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Eastern                Pennsylvania
                                         __________ District of __________

 Case number           24-11866-amc
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: Nationstar  Mortgage LLC
                   _______________________________________                                                       24
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                          1 ____
                                                        ____ 1 ____
                                                                 1 ____
                                                                     4               Must be at least 21 days after date       6/1/2025
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                               1904.50
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q No
      q Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                     698.63
                   Current escrow payment: $ _______________                       New escrow payment:                   736.80
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q No
      q Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:        _______________%                  New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q No
      q Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                              page 1
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Debtor 1         Steven     Francis      Carr Last Name
                 _______________________________________________________                                  24-11866-amc
                                                                                       Case number (if known) _____________________________________
                 First Name   Middle Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q I am the creditor.
     q I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û   _____________________________________________________________
     Signature
                                                                                       Date   4/21/2025
                                                                                              ___________________




 Print:            Eric Smith
                   _________________________________________________________           Title Authorized  Agent for Creditor
                                                                                             ___________________________
                    First Name                Middle Name       Last Name



 Company           Aldridge  Pite, LLP
                   _________________________________________________________



 Address           Six Piedmont Center, 3525 Piedmont Road, N.E., Suite 700
                   _________________________________________________________
                    Number           Street

                   Atlanta                         GA      30305
                   ___________________________________________________
                    City                                        State       ZIP Code



 Contact phone     (404 ) 994-7400
                   ________________________
                                                                                              esmith@aldridgepite.com
                                                                                       Email ________________________




Official Form 410S1                                           Notice of Mortgage Payment Change                                           page 2
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      ALDRIDGE PITE, LLP
      3333 Camino del Rio South
      Suite 225
      San Diego CA 92108
      Telephone: (858) 750-7600
      Facsimile: (619) 590-1385




                                UNITED STATES BANKRUPTCY COURT

              EASTERN DISTRICT OF PENNSYLVANIA - PHILADELPHIA DIVISION
      In re                                           Case No. 24-11866-amc
      STEVEN FRANCIS CARR,                            Chapter 13
                       Debtor(s).                     PROOF OF SERVICE


              I, Jowanna Michelin, declare that:

              I am employed by Aldridge Pite, LLP. My business address is: 3333 Camino del Rio
     South, Suite 225, San Diego CA 92108. I am over the age of eighteen years and not a party to

     this cause.

              On April 29, 2025, I caused the NOTICE OF MORTGAGE PAYMENT CHANGE to be
     served in said case by electronic means through the court’s CM/ECF system or through United

     States Mail, addressed as follows: SEE ATTACHED SERVICE LIST.
              I declare under penalty of perjury that the foregoing is true.


                                                     /s/Jowanna Michelin
                                                     JOWANNA MICHELIN




                                                      -1-
     PROOF OF SERVICE
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                                        SERVICE LIST

     DEBTOR(S)
     (VIA US MAIL)
     Steven Francis Carr
     529 Parkway Dr
     Fairless Hls, PA 19030-3242




     DEBTOR(S) ATTORNEY
     (VIA ELECTRONIC NOTICE)
     MICHAEL A. CIBIK
     Cibik Law, P.C.
     1500 Walnut Street
     Suite 900
     Philadelphia, PA 19102
     help@cibiklaw.com

     CHAPTER 13 TRUSTEE
     (VIA ELECTRONIC NOTICE)
     SCOTT F. WATERMAN [Chapter 13]
     Chapter 13 Trustee 2901 St. Lawrence Ave. Suite 100 Reading, PA 19606
     ECFMail@ReadingCh13.com




                                               -2-
     PROOF OF SERVICE
